      Case 2:14-cr-00083-DJC Document 319 Filed 02/14/19 Page 1 of 1


1                              UNITED STATES DISTRICT COURT

2                              EASTERN DISTRICT OF CALIFORNIA

3

4    UNITED STATES OF AMERICA,                   No.    2:14-cr-00083-GEB
5                        Plaintiff,
6            v.                                  ORDER REGARDING SHACKLING ONE OF
                                                 DEFENDANT’S LEGS DURING THE JURY
7    RUSLAN KIRILYUK,                            TRIAL
8                        Defendant.
9

10                  A deputy United States Marshal assigned to assist with

11   court security for the impending jury trial in this case informed

12   the undersigned that one of detained Defendant’s legs should be

13   shackled to a bucket under counsel table during the jury trial,

14   because Defendant is a flight risk.                This request is granted. See

15   Shackling       Minute    Order    filed   11/17,2017(stating:        “Pursuant   to

16   Local        Rule   401   [the    Magistrate      Judge]    determined   that     the

17   appropriate restraint level for Ruslan Kirilyuk is Legs Only when

18   appearing       alone.”),    ECF    No.    229.   Counsel    tables   have   wooden

19   panels on them that preclude jurors from seeing the shackling

20   device affixed to the bucket where Defendant will be seated, and

21   that device does not make any audible noise when a shackled

22   defendant moves his shackled leg.

23                  A copy of this order shall be served on the United

24   States Marshal’s Office.

25                  Dated:     February 14, 2019

26
27

28
                                                1
